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                    UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                        FORT WORTH DIVISION

     OUTSOURCING FACILITIES
     ASSOCIATION, ET AL.,

          Plaintiffs,

     v.                                                     No. 4:24-cv-00953-P

     UNITED STATES FOOD AND DRUG
     ADMINISTRATION, ET AL.,

          Defendants.
                                       ORDER
        On January 14, 2025, the Court held a hearing in the above
     numbered and styled case. Based on the findings made at the hearing,
     the Court will not convert the impending motion for preliminary
     injunction into a motion for summary judgment. Further, it is
     ORDERED that: (1) Plaintiffs shall file their motion for preliminary
     injunction two weeks after receiving the Decision Memorandum under
     the protective order entered this same day; (2) Defendants and
     Intervenor Defendant shall file their Responses three-weeks after
     Plaintiffs’ motion for preliminary injunction is filed; and (3) Plaintiffs
     shall file their Reply one week after Defendants’ Responses are filed. 1

          SO ORDERED on this 14th day of January 2025.




          1After making a determination on the motion for preliminary injunction,

     the Court plans to order the Parties to brief their summary judgment motions
     on an expedited basis. Thus, the Court expects and hopes that the FDA will
     compile the administrative record for this case in three weeks as it represented
     at the hearing.
